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   LARS ROBERT ISAACSON
   Hawaii Bar #5314
   1100 Alakea Street, 20th Floor
   Honolulu, Hawai’i 96813
   Phone: 808-497-3811
   Fax: 866-616-2132
   Standby Attorney for Defendant ANTHONY T. WILLIAMS

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101 JEK
   AMERICA,
                                       DEFENDANT’S “REPLY TO
          Plaintiff,                   GOVERNMENTS IDIOTIC
                                       UNITED STATES' RESPONSE
         v.                            TO DEFENDANT'S DEMAND
                                       FOR GOVERNMENT TO
                                       PROVIDE ANY AFFIDAVITS
   ANTHONY T. WILLIAMS,                FROM CLIENTS OF THE
                                       UNDERSIGNED WHO SWORE
          Defendant.                   THEY WERE LIED TO OR
                                       SCAMMED BY PRIVATE
                                       ATTORNEY GENERAL
                                       ANTHONY WILLIAMS AND
                                       THE AMOUNT THEY HAVE
                                       CLAIMED THEY WERE
                                       DEFRAUDED OR SCAMMED
                                       OUT OF;” DECLARATION OF
                                       COUNSEL; EXHIBIT “A;”
                                       CERTIFICATE OF SERVICE
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        DEFENDANT’S “REPLY TO GOVERNMENTS IDIOTIC
      UNITED STATES' RESPONSE TO DEFENDANT'S DEMAND
     FOR GOVERNMENT TO PROVIDE ANY AFFIDAVITS FROM
    CLIENTS OF THE UNDERSIGNED WHO SWORE THEY WERE
     LIED TO OR SCAMMED BY PRIVATE ATTORNEY GENERAL
       ANTHONY WILLIAMS AND THE AMOUNT THEY HAVE
              CLAIMED THEY WERE DEFRAUDED
                    OR SCAMMED OUT OF”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides Defendant’s “REPLY TO GOVERNMENTS IDIOTIC

   UNITED STATES' RESPONSE TO DEFENDANT'S DEMAND

   FOR GOVERNMENT TO PROVIDE ANY AFFIDAVITS FROM

   CLIENTS OF THE UNDERSIGNED WHO SWORE THEY WERE

   LIED TO OR SCAMMED BY PRIVATE ATTORNEY GENERAL

   ANTHONY WILLIAMS AND THE AMOUNT THEY HAVE

   CLAIMED THEY WERE DEFRAUDED OR SCAMMED OUT

   OF,” attached as Exhibit “A,” and Declaration of Counsel.
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      Dated: April 11, 2019



                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
